
Susan K. Nichols, Special Deputy Attorney General.
John W. O'Hale, Raleigh, Guardian ad Litem.
Caroline P. Mackie, Raleigh.
Allison J. Riggs.
Clare Barnett.
Adam Stein, Chapel Hill, Victor Goode, for North Carolina State Conference of Branches of the NAACP, et al.
John A. Bussian, Raleigh, for NC Press Association, Inc., et al.
*887Mark J. Prak, Raleigh, for N.C. Association of Broadcasters, Inc.
Charles E. Coble, Raleigh.
Dorrian H. Horsey.
Hugh Stevens, for N.C. Open Government Coalition, Inc.
Geraldine Sumter, Charlotte, for N.C. Legislative Black Caucus.
David Lambeth, Durham, for David Lambeth.
Mark A. Finkelstein, Matthew Nis Leerberg, Raleigh, for Election Law Professors
H. Jefferson Powell, for N.C. Law Professors.
Paul M. Smith, Chapel Hill, Pro Hac Vice, for Election Law Professors.
Jessica Ring Amunson, Pro Hac Vice, for Election Law Professors.
Leah J. Tulin, Pro Hac Vice, for Election Law Professors.
Michelle R. Singer, Pro Hac Vice, for Election Law Professors.
Kareem Crayton, Pro Hac Vice, for N.C. Legislative Black Caucus.
Terry Smith, Pro Hac Vice, for N.C. Legislative Black Caucus.
Meghann K. Burke, Michael E. Casterline, Asheville, for Congressional Black Caucus.
Opinion
The following order has been entered on the motion filed on the 10th of June 2015 by Theodore V. Wells, Jr. for Admission Pro Hac Vice:
"Motion Allowed by order of the Court in conference, this the 16th of June 2015."
